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 3   Sacramento, CA 95814
     Telephone: (916) 444-3994
 4
     Attorney for Defendant
 5   ALFONSO CORRALES

 6

 7                  IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-08-00332 GEB
                                   )
11             Plaintiff,          )        STIPULATION AND
                                   )        ORDER CONTINUING
12        v.                       )        JUDGEMENT AND SENTENCING
                                   )
13   ALFONSO CORRALES and          )
     ERIC MICHAEL SOUTHARD,        )
14                                 )        Date:    2/26/10
               Defendants.         )        Time:    9:00 a.m.
15   ______________________________)        Judge:   Hon. Garland E.
                                                     Burrell, Jr.
16

17        IT IS HEREBY stipulated between the United States of America

18   through its undersigned counsel, Michael M. Beckwith, Assistant

19   United States Attorney, together with counsel for defendant

20   Alfonso Corrales, John R. Manning Esq., and counsel for defendant

21   Eric Michael Southard, Matthew C. Bockmon, Esq., that the

22   judgement and sentencing presently set for February 26, 2010 be

23   continued to April 23, 2010, at 9:00 a.m., thus vacating the

24   presently set judgement and sentencing.

25        Counsel for the parties agree that this is an appropriate

26   exclusion of time within the meaning of Title 18, United States

27   Code § 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable time

28   for effective preparation) and Local Code T4, and agree to
                                        1
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 1   exclude time from the date of the filing of the order until the

 2   date of the judgement and sentencing, April 23, 2010.

 3

 4   IT IS SO STIPULATED.

 5   Dated: February 23, 2010                   /s/ John R. Manning
                                              JOHN R. MANNING
 6                                            Attorney for Defendant
                                              Alfonso Corrales
 7

 8   Dated: February 23, 2010                   /s/ John R. Manning for
                                              MATTHEW C. BOCKMON
 9                                            Attorney for Defendant
                                              Eric Michael Southard
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11

12   Dated: February 23, 2010                 Benjamin B. Wagner
                                              United States Attorney
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14                                      by:     /s/ John R. Manning for
                                              MICHAEL M. BECKWITH
15                                            Assistant U.S. Attorney

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 1                     IN THE UNITED STATES DISTRICT COURT

 2                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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 4   UNITED STATES OF AMERICA,             ) Case No. CR.S-08-00332 GEB
                                           )
 5                     Plaintiff,          )
                                           )
 6        v.                               ) ORDER TO
                                           ) CONTINUE JUDGEMENT AND SENTENCING
 7   ALFONSO CORRALES and                  )
     ERIC MICHAEL SOUTHARD,                )
 8                                         )
                    Defendants.            )
 9   _______________________________

10
          GOOD CAUSE APPEARING, it is hereby ordered that the February
11
     26, 2010 judgement and sentencing be continued to April 23, 2010
12
     at 9:00 a.m.     I find that the ends of justice warrant an
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     exclusion of time and that the defendant’s need for continuity of
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     counsel and reasonable time for effective preparation, exceeds
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     the public interest in a trial within 70 days.           THEREFORE IT IS
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     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. §
17
     3161(h)(7)(B)(iv) and Local Code T4 from the date of this order
18
     to April 23, 2010.
19

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     IT IS SO ORDERED.
21
     Dated:    February 26, 2010
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                                      GARLAND E. BURRELL, JR.
24                                    United States District Judge
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